294 F.2d 811
    NATIONAL LABOR RELATIONS BOARD, Petitionerv.LOCAL UNION 522, LUMBER DRIVERS, WAREHOUSEMEN AND HANDLERS, INTERNATIONAL BROTHERHOOD OF TEAMSTERS, CHAUFFEURS, WAREHOUSEMEN AND HELPERS OF AMERICA, Respondent.
    No. 13606.
    United States Court of Appeals Third Circuit.
    Argued September 22, 1961.
    Decided October 3, 1961.
    
      Allison W. Brown, Jr., Washington, D. C. (Stuart Rothman, Gen. Counsel, Dominick L. Manoli, Assoc. Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, James A. Ryan, Atty., National Labor Relations Bd., Washington, D. C., on the brief), for petitioner.
      Milton M. Konowe, New York City (Katz &amp; Wolchok, New York City, on the brief), for respondent.
      Before GOODRICH, McLAUGHLIN and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      In this case the respondent opposes the Board's petition for enforcement of an order on the ground that the order is too broad. The Board found that the respondent's activities disclosed "a pattern of conduct contemptuous of the Act" and has issued an order appropriate to that finding. The business of shaping a remedy for unfair labor practices is primarily that of the Board. Courts do order modifications of the Board's orders when, in the judgment of the court, they go too far. We have done so, for instance, in Lakeland Bus Lines, Inc. v. N. L. R. B., 3 Cir., 1960, 278 F.2d 888, and in N. L. R. B. v. Brewery and Beer Distributor Drivers, 3 Cir., 1960, 281 F.2d 319. In the case at bar, however, unfair labor practices, which are not denied, support the Board's conclusion in the terms quoted above and the remedy is appropriate to that conclusion. The petition of the Board for enforcement will be granted.
    
    